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   4
       Attorneys for Proposed Intervenor
   5   Marc J. Randazza

   6                      IN THE UNITED STATES DISTRICT COURT
   7                          CENTRAL DISTRICT OF CALIFORNIA

   8
        In re:                                          Misc. Action No.
   9    Application of Daniel Snyder for an             2:20-mc-00076-MWF-MRW

  10    Order Directing Discovery from         DECLARATION OF
        New Content Media Inc. d/b/a MEA       MARC J. RANDAZZA IN
  11    WorldWide Pursuant to 28 U.S.C. § 1782 SUPPORT OF EMERGENCY
                                               MOTION TO INTERVENE AND
  12                                           STRIKE
  13                                                    The Honorable Michael R. Wilner

  14             I, Marc J. Randazza, declare:

  15             1.    I am over 18 years of age and have never been convicted of a crime

  16   involving fraud or dishonesty. I have first-hand knowledge of the facts set forth herein,

  17   and if called as a witness, could and would testify competently thereto.

  18             2.    I am the Managing Partner of Randazza Legal Group, PLLC, and I am an

  19   attorney licensed to practice in the States of Massachusetts, Florida, California, Nevada,

  20   and Arizona.

  21             3.    I have reviewed Petitioner’s Supplemental Ex Parte Petition for Assistance in

  22   Aid of a Foreign Proceeding Pursuant to 28 U.S.C. § 1782 to Serve Additional Document Requests

  23   and Deposition Topics Identified in Exhibits T and U Hereto, filed as Dkt. No. 13.

  24                                                  -1-
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   1          4.     Petitioner’s Supplemental Ex Parte Petition contains a number of false and

   2   misleading statements about me which I must correct.

   3          5.     The Supplemental Ex Parte Petition makes a number of dishonest and

   4   defamatory claims, including the facts that I have “worked extensively with [Ari] Bass,”

   5   that Mr. Bass and I “have a well-documented history together, much of which has led

   6   to this litigation,” that Mr. Bass and I “launched a music production label named

   7   Randazza Records, which was alleged to have ‘breached copyright legislation and
   8   stole … an audio track of a musical piece’ from an individual named Alexandra Mayers,”

   9   and that Mr. Bass and I “stalk[ed], intimidate[ed] and harass[ed]” Alexandra Mayers.

  10          6.     These claims are false, and their inclusion in the Supplemental Ex Parte
  11   Petition are misleading to the Court.

  12          7.     Further, even a “moron in a hurry”1 could not have made these errors

  13   innocently. I am firmly of the opinion that the attorneys who signed this document

  14   had to have knowingly misled the court and have attempted, perhaps at their client’s

  15   behest, to circumvent the defamation laws by engaging in defamation under the shield

  16   of the litigation privilege.
  17          8.     First, I have not “worked extensively with Mr. Bass.” I have met Mr. Bass

  18   a total of three times: once, briefly at an adult film industry convention in Las Vegas,

  19   another time, briefly, at another such convention in Los Angeles, and once, when he
  20   asked me for comment on a hearing he was observing in Las Vegas. I declined to

  21   comment.

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          1
               See Morning Star Cooperative Society v Express Newspapers Limited [1979] FSR 113 for
  23   the first known use of this term in British jurisprudence. It is quite apt here.
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   1          9.      The only other time I can recall ever even speaking to Mr. Bass was on 2

   2   Sept. 2020 when I reached out to him via an email address I found for his public

   3   relations company and asked him to call me to discuss this matter. I believe that this

   4   was the most extensive conversation I have ever had with him. We spent most of the

   5   call mocking the lawyers who relied upon the patently unreliable Crystal Cox and

   6   Alexandra Mayers as their sources of information.

   7          10.     I have never worked for or with Mr. Bass, and he has never worked for
   8   or with me. We have never collaborated on anything together. We know of each other

   9   and are cordial when we have bumped into each other at conferences. We most

  10   certainly drank one cocktail together, perhaps in or around 2012 or 2013, at the Circle
  11   Bar in the Hard Rock hotel during the AVN conference. That is the extent of our

  12   “conspiratorial actions” together.

  13          11.     I am aware that Mr. Bass published a tweet that mentioned “Randazza

  14   Records.” This tweet was not serious, and was merely mocking Alexandra Mayers – a

  15   stalker against whom my then-wife secured a defamation judgment. Any person who

  16   read it should be able to tell it was not serious.
  17          12.     There is no such thing as “Randazza Records.” The extent of my musical

  18   career and endeavors is that in about 1991, I was a member of a band called Frömündä

  19   – whose name was derived from a vulgar humorous expression. The band was about
  20   as good as its name.

  21          13.     Mr. Bass and I have never had any business relationship, personal

  22   relationship, nor any other relationship whatsoever, aside from what is described in this
  23   declaration.

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   1          14.    Aside from discussing this petition via telephone, after I emailed him a

   2   copy of the Supplemental Ex Parte Petition, we have hardly ever spoken.

   3          15.    Perhaps the only thing that Mr. Bass and I have in common is a stalker,

   4   Alexandra Mayers a/k/a Monica Foster.

   5          16.    The sources that the petition purports to rely upon are Crystal Cox and

   6   Alexandra Mayers.

   7          17.    Cox is an extortionist. I have written extensively about that fact, and even
   8   someone with the most rudimentary investigative skills or curiosity would have been

   9   able to find that fact. (See, e.g., Marc Randazza, “Judge rules, again, that blogger Crystal

  10   Cox is not a journalist. You know why? Because she ISN’T a journalist,” THE LEGAL
  11   SATYRICON (Mar. 30, 2012), attached as Exhibit A.)2

  12          18.    Cox initially tried to extort me to the tune of $5,000 per month.

  13          19.    When I refused to pay her, she registered a domain name that

  14   corresponded to my then-wife’s name and posted insulting information on that website.

  15          20.    When that did not have the desired effect, Cox then registered a domain

  16   name that corresponded to my then 3 year old daughter’s name. (See Kashmir Hill,
  17   “Ugly New Reputation-Smearing Tactic: Going After a Toddler’s Internet Footprint,”

  18   FORBES (Apr. 2, 2012), attached as Exhibit B.)3

  19
  20      2
              Available at: <https://randazza.wordpress.com/2012/03/30/judge-rules-
  21   again-that-blogger-crystal-cox-is-not-a-journalist-you-know-why-because-she-isnt-a-
       journalist/> (last accessed Sept. 3, 2020).
  22      3
              Available at: <https://www.forbes.com/sites/kashmirhill/2012/04/02/ugly-
       new-reputation-smearing-tactic-going-after-a-toddlers-internet-
  23   footprint/#688b3ab911cd> (last accessed Sept. 3, 2020).
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   1          21.     I then sued her. Early on in the suit, I obtained a preliminary injunction

   2   which gave control of many of the domains Ms. Cox was using for her extortion scheme

   3   to me. I wrote about this when it happened. (See Marc Randazza, “This Domain Name

   4   Seized from Crystal Cox,” THE LEGAL SATYRICON (Dec. 17, 2020), attached as

   5   Exhibit C.)4

   6          22.     Alexandra Mayers did not seek payment from me, but I believe the

   7   appropriate term for her is “bat-guano-crazy.” I sued her for defamation, on behalf of
   8   my then-wife, and we got a judgment against her. She, too, is so obviously unreliable

   9   that nobody who is even trying to be honest would proffer her as a source to the Court.

  10          23.     As to the substance of Petitioner’s Supplemental Ex Parte Petition, I have
  11   had no contact with either New Content Media Inc. or MEAWW. In fact, I had never

  12   even heard of the meaww.com website until Mr. Snyder’s private investigators came to

  13   my office to inquire as to my relationship with the website.

  14          24.     I informed Petitioner’s private investigator, Jim Conklin, of this fact prior

  15   to the filing of the Supplemental Ex Parte Petition. I then told him to tell his client to

  16   “go fuck himself.” I presume he relayed that message, because I can see no other reason
  17   for the retaliatory conduct in this petition. Mr. Conklin did not tell me on whose behalf

  18   he was working.

  19          25.     I have a much stronger tie to Mr. Snyder’s private investigators than I have
  20   with anyone else in this entire matter –Mr. Conklin was apparently accompanied by a

  21   Tony Ricevuto. Mr. Ricevuto and I have spent quite a bit of time together at Italian

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            Available at: <https://randazza.wordpress.com/2012/12/17/this-domain-
  23   name-seized-from-crystal-cox/> (last accessed Sept. 3, 2020).
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   1   American events, and we have worked together on scholarship matters for Italian

   2   students. I have eaten meals with him and would consider him to be a friend, although

   3   not a close one.

   4          26.    When I did a search of my emails, I found 26 emails that were with Mr.

   5   Ricevuto or where he was included in the conversation.

   6          27.    So, for all this utterly disingenuous “connection” that Snyder’s

   7   investigators and lawyers claim to have discovered, it is bizarre that they do not disclose
   8   that the only real connection to anyone in this case is with their own investigation team.

   9          28.    The only involvement I have with the Petitioner is having once written an

  10   article on my blog about a frivolous lawsuit filed by Mr. Snyder. In that article, I rightly
  11   mocked him. (See Marc J. Randazza, “Dan Snyder is butthurt, SLAPP suit ensues,

  12   Ironymeter pegged”, THE LEGAL SATYRICON (Feb. 6, 2011), attached as Exhibit D.) 5

  13          29.    I also authored an amicus curiae brief on behalf of the First Amendment

  14   Lawyers Association in support of the “Washington Football Team,” of which Mr.

  15   Snyder is the majority owner; see also Pro-Football, Inc. v. Amanda Blackhorse, No. 15-1874,

  16   Brief of First Amendment Lawyers Association as Amicus Curiae in Support of
  17   Plaintiff-Appellant Pro-Football, Inc. (4th Cir. Nov. 6, 2015).

  18          30.    The problem with this petition, aside from it being a fraud on the court,

  19   is that it is now being picked up by the media as if it is all true. (See Mike Florio, “Daniel
  20   Snyder pursues a new angle in his defamation case,” NBC SPORTS (Sept. 2, 2020),

  21   attached to Declaration of Ronald D. Green as Exhibit B.)

  22
          5
             Available at: <https://randazza.wordpress.com/2011/02/06/dan-snyder-is-
  23   butthurt-slapp-suit-ensues-irony-meter-pegged/> (last accessed Sept. 3, 2020).
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   1         31.    While I understand that there is litigation privilege, and thus I might be

   2   prohibited from suing these hacks, the Court should act to manage its docket honestly

   3   and not tolerate the “creative defamer” that we have encountered here in this case.

   4         I declare under penalty of perjury that the foregoing is true and correct.

   5         Dated: September 3, 2020.
                                               /s/ Marc J. Randazza
   6                                           Marc J. Randazza
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                          EXHIBIT A
                              Marc Randazza

                   “Judge rules, again, that blogger
                    Crystal Cox is not a journalist.
                           You know why?
                   Because she ISN’T a journalist,”

                        THE LEGAL SATYRICON
                           (Mar. 30, 2012)
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li le gi l da ce cla . While I d he e acc     li h                              e      i d-bl i g,             he ha a ai ed          ie
  f hich I a a a e.

Ye C           al C    , i      e iga i e bl gge             ha         ed he a e i                  hi i       ce        h ee ea         ld.



     :// a da a.   d e .c    /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -   -a-   a   -   -    -     -beca e- e-    -a-   a   /          4/13
9/3/2020        J dge e , aga , a b gge C a Document
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                                                     16-1        ? Beca e e ISN Ta
                                                                              Page 13a of
                                                                                        . T38
                                                                                            e Lega Sa cID
                                                                                                 Page
Thi i he ki d f e          C     al C i , a d he e#:565
                                                    a e he de h he ill i k             he       e f he
 ic i         he ffe          d     ea ch e gi e e   ai     a age e       f     he . Thi i        h he l
he ca e       beca e J dge He a de ha i i f bl gge .

C      al C clai    ha Da id A a , Plai iff c    el i he Ob idia Fi a ce ca e, acc ed he f
e      i     . A eal j  ali , Da id Ca   f he Ne Y k Ti e , e    ed he c d c i hi         ell-
    i e iece (h ://      . i e .c /2011/12/12/b i e / edia/ he -           h-     i e -f ee-
    eech.h l? age a ed=all).

The I e e ha i e e ibl cha ged he face                                  f e      e     i       ga     dj      ali     he h le. Ma
bl gge       d ce be e c e ha          a                               all, l cal e           a e      , a d a e e ha e     ei
 e    ce . Rega dle    f i e, bl gge     h a                            ie j         ali       ic i     eg i , e e if  c   le el
 eachi g i , h ld a d likel    ill ecei e he                           a e       ec i          a      e     e if a d he he da c e
 ha he eed a e h e igh .

I he h           ,a    e e all i hi   ge he     e ali a       g bl gge i a eali g. I         i ci le, I
ag ee ha he di i c i be ee bl gge a d j                ali i hi , if i e i a all. B a         ed ca ed
e       i i    alke like C             a he el e i he cl ak f j           ali ic i ilege, a       aged
    blic he e le h elec he j dicia i             ch f he c        , a d ce ai l       ef   e e e ai e
   h legi la e e         ec i    i ce ai    ae     ill de a d ha la       ake     ll back he e i ilege
f      bl gge a d adi i al j        ali alike. Thi i       a ca e he e bl gge h ld be h ldi g hei
     e       ec he igh      fa          la   eake like Gle Beck, R h Li ba gh, A d ea D                 ki .
 He e, a bad a le         be ke       f he ca , bef e i     il he e i e c     . J dge He a de          i i
  ha d e eal j        ali a fa , a Da id C            e a F be
(h ://         .f be .c / i e /da idc       e /2012/03/29/a e-bl gge - eall -j          ali - -if- he -
a k-f -      e /). I ag ee.

Ic    ide ed kee i g                    h h ab         hi idi . The ld                             a i    a                 e le i        he   d   ih
a ig. Y b h ge di                 , a d he ig like i .

Whe he     e ab       e, i g d          e ha he did Ke i Pad ick
(h ://    . i e .c /2011/12/12/b i e / edia/ he -         h-       i e -f ee- eech.h l?
 age a ed=all), he bl g  he e       ed ha he c e f bad eech i       e eech. Ra he , a l f
 e le    ed ha a i , b       i i g ha he h gh f e. F          a el , I had a la ge e gh blic
 e  a i a d he G gle j ice       i h a d he a ack .

Ke i Pad ick did              ha e ha l                   .

O he        e     le        ha e ha l                 .

M      h ee ea         ld da gh e d e                ha e ha l                .

Id             e le i h C                      al C beca e I ca e ab   he i a e, g a  a icall challe ged a d
ba el li e a e c a li g. A                       e h ead i     i e all eac b calli g i ba hi c a . I d
 eed defe d        elf agai                     he like f he .

I e le i h he          beca e I eali ed ha I ha e a e      ibili    . Whe he a acked e, i had
effec . The he      ed      i   ce     ife. The he     ed         e e    ei   ce h ee ea ld
da gh e . The , I eali ed ha he e e e he i       ce    e le        he e h he ied e       , ha ,
a d      ea . S e f he c ac ed e. I eeded          eak    f     he .

    :// a da a.   d e .c   /2012/03/30/ dge-    e -aga - a -b gge -c     a -c - -   -a-   a    -      -   -   -beca e- e-   -a-   a   /            5/13
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I eali ed he , ha k        Na alia, ha e e if I had#:566 e le i h a ig, I had d i bef e C ca e
ha      a     e el e. The ea         he a able d        ha he did Ke i Pad ick a , i a , beca e
   b d had      hed back a d          a     ligh    he beha i bef e. He l          i he Di ic f O eg ,
a d he l       bl ggi g ab         he ca e ele a ed he c edibili .

She eed             be e              ed, a d bl gge        eed         ejec he .

The e i    d b ha he bl ggi g c         i    eed a    a       ec i    a i ca ge , a d I belie e
  a bl gge      h I ead, alk a d      k ih       ld alif f         ec i     de O eg       hield
  a e. C    al C did     ,d e    , a d ca     ad a ce hi g al. If he bl ggi g c         i     i he
    a da     g h e i h he i le f j      ali , he i         ejec e le like C     al C , a d
 elega e he     hei     bi a e, b e i e a d child- a ge i g c   e f he I e e .

She i              e f        .

She ha              .

UPDATE: If he e i a                     d    b , S e ha ie S debake -DeY                     g (a a       ae   ac       ai a ce f C         ) had
hi   a ab     he :




(h         :// a da         a. le .         d e .c        /2012/03/ c ee - h -2012-03-31-a -12-28-38-                          .       g)

S debake -DeY                     g    a C          ai          ce f i f           ai    i he a ack agai                Ke i Pad ick.

Thi e               a         ed         F ida , Ma ch 30 h, 2012 a 10:36 a                  a d i led de     i c. Y ca f ll
a   e              e        hi e           h    gh he RSS 2.0 feed. B h c                      e   a d i g a e c e l cl ed.




                   Judge rules, again, that blogger Crystal Cox is not a
journalist. You know why? Because she ISN T a journalist.
     :// a da a.   d e .c    /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -   -a-   a    -   -   -   -beca e- e-    -a-   a   /           6/13
9/3/2020          J dge e , aga , a b gge C a Document
        Case 2:20-mc-00076-MWF-MRW            C    a   a . Y Filed 09/03/20
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                                                                                            e Lega Sa cID
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                                                     #:567
     Clint says:
     Ma ch 30, 2012 a 10:47 a
     I ha e i he I ag ee i h          .

     Eddie says:
     Ma ch 30, 2012 a 11:36 a
     W .N        I ee h he e e e          a bl g dedica ed      bei g a Fi  A e d e bad
     a . Thi        a         eall be c a   e d      l he i e a d eff   b  he   e ha he
     d e     egi e all h e d ai a e . P e      ad.

     Dan says:
     Ma ch 30, 2012 a 11:55 a
     W ah. I did     e ec he                             f ld he a i did. I ha e h ee child e , all i a d de . I ca
     i agi e he f         fel he                         a ha       da gh e     a e a       ed hi     a . Thi i a ell-
      h gh       , e ai ed e     e                      a a he de l able eff     ge a i e      f     . G d j b.

     Talon's Point says:
     Ma ch 30, 2012 a 11:57 a
     The li g a a ed. The e l                               ill be a la e  ea     ecede ce f chilli g eech. U de a d
      ha I d      belie e he      ec i                       acke      a     ec ed eech. H e e , he j dge had     eed
        de e j        ali   a if he c                           ha e j i dic i   i de i g he e        f f ee eech a d
     c     e ce.

     Whe all i aid a d d e he j dge c ld ha e ide e ed he clai            f     ec i b a i g
       a e   ha     de e        elf a ,      e e ac i g     ha       e e el e f     a cial gai f
      he , aki g      ac i a f       fe     i j    a if a fa    j     ali   e e c ac a bjec                                            f
     a     a d     i e     ake hei      ble   g a a f a        i al fee.

           Ja says:
           Ma ch 30, 2012 a 7:01
           I h ld e e e gage i a c     e a i ab       ff I ha e                                    l ead a li le bi ab a d I ad i
            ha I ha e    bee f ll i g hi     , b I hi k      a                                     e f he i e he e he a e hield
           la ?

           Tha      ake i           ec         lica ed.

           We ha e a f ee e . Y ca                               e ef     defa i g ,     ca    l ge da age f
            he af e he fac . Tha h                      i    h ld be, he i e e gag e le. She i f ee    defa e a d
           f ee be d agged back i  c                           a f i    il he a    eali e i d e     a . (I h e ha
           i e        )

           She ca al        be la         ed f        ha l      k like e           i   .

           B     he hield la i a he     a e . I ha e    ead O eg       b he                                       all    ec edia f
           di c e      f hei i e     ki g , hei      ce ,    e , i e ie a e ,                                    ide     ake e c      he
           ag e        ha e    di e i a i i       c cial de c ac ha chilli                                       gi     ld ha   ci i e
           abili     k       ha hei g e     e i         . If hi le-bl e     a                                    e    e a age       f he
           g e      e , able be ha led i      e e              ill hei   eb k                                   , he      ld e e g



    :// a da a.   d e .c   /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -   -a-   a   -   -    -   -beca e- e-   -a-   a   /    7/13
9/3/2020             J dge e , aga , a b gge C a Document
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            e    e a d ih            ha ec g i i b #:568he c     ( Fi A e d e a g e                      ada ed
            he       e f he e a lea , i he ab e ce f a hield la ) e                   e       ld e e be able
               ec a hi le-bl e .

            N      e belie e ha he Wa h P                              h ld ha e      e                ed he Wa e ga e                           all glea ed
            f     ac     de ial i f   a .N                            e belie e ha i                    ld ha e bee be e f                     a h i ie
              aid he Wa h P      f ce a d ake                         hei     eb k , h                 e ec d a d       he                     hi le-bl e
             ha a . Thi i he ki d f c cial                            e    i g   a de c                ac ha a       ed  j                     if he hield
            la .

            U f     a el , i c e     i h a da ge      e. I i e e      cl el   de i g j                                                     ali        . I lide
            e e    ea il i    c ea i g a cla   f e i-lice ed edia eli e . Tha    h al                                                    fj           ali    a
             he heck i h i , i be e        g    jail,     ha e a ecial la , gh each b                                                    e a             he
            a e d e a d           .P e .

            Ia      a     g he  e    beca e I a c                                 i ced he da ge i    g ea . A d I a                                       l a
            j       ali , b I a ed d     a b e a                                   ce   , i a a e ha had      hield la . I                                a
                  ca .

            A    a , hi C    e    i a f igh . The e i ell    j   ali   a d     ell . The e    i
            he i a h le diffe e ca eg , ell, al       . The Na i al E    i e i ell - c i j      ali .
            Mi e a e       a e   f e e ea        e e ell   a dc      ca e i   l i g he laid d      he
            la agai     i   e ai    f he e .

            (F        ag       d h      b    k, ead Mi            e        a Rag )

            I he ld da                           ld hea        f e          a e        d i g hake d               f    bjec         ha         a ed
            bad e ab                   he      el e .

            I     he e a f he hield la all f hi i bei g ha dled diffe e l ,                                           ih       ec              le i     a di
                  e a       e i k a f ee e .

            I     a ead                     ell I d ead i ac all               le        a I     ld ha e           ead he h le ca e                      lea
              h he c ld                        j      e he f e                   i       a d defa a i             ih    he hield la                      bei g
            i  ked.

     geekhideout says:
     Ma ch 30, 2012 a 12:25
     W .. ha        a ab                       ha ..

     Bei g a dad    elf    bea if l gi l , b                                 h ee age                (he ce     i a i ) I ca a ha
      e ai           c  i i g ac    f b dil                                  ha                hi ba hi l a ic f he h deg ee           be
      e a kable. Ha a   e a ked f a c                                         de ed            ch l gical e a i a i    f he b ai beca e
     I c ce ed ha he igh be a da ge                                          he elf a         d he       i h he a i   i a d i i l he i
       e i g f h a hi age i    ha c ld l                                      be cla i        ed a he       e f a aj      e al di de ( ).

     Al   f     e e clai i g                             be a j   ali a d a e    ai     a age            ld a all
         ec ha he        a e                           i h he addi i   f ck      ld f bee     e f he         hi g he
      egi e ed li e, j    e                            e i ..      ld    ec ha b    a gel i i ill a ailable.



    :// a da a.       d e .c    /2012/03/30/ dge-   e -aga - a -b gge -c    a -c - -    -a-    a   -   -   -   -beca e- e-    -a-    a     /                8/13
9/3/2020        J dge e , aga , a b gge C a Document
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                                                                                                   Page
     Oh a d DORA i g ea , h gh                       #:569 ill be e e
                                            The Wiggle                     he e i h hei big ed ca a d h
       a     g (i a A ie c              i ac ).. I a i a a Dad a ai              a d i fa a ic ;)

     keithrl says:
     Ma ch 30, 2012 a 12:53
     Tha ab        a l  a i ge . Wha a l                             .

     blueollie says:
     Ma ch 30, 2012 a 2:23
     H       , I f ll      bl g b                    a c             le el          a a e f all f hi .

     Y      k        ha          a e fa              he              ha e a                  ck .bl g               .c       j       f          . :)

     Please enter your name here says:
     Ma ch 30, 2012 a 4:09
     W . G i g af e a 3- ea - ld.

     Thi lad         eed hel . A d I d                    ea     he legal ki d.

     Ronald Pottol says:
     Ma ch 30, 2012 a 7:09
     Well, a d    ff like hi i h   E gla d g   hei                                            de f l (hah) libel la . The abl id                               ee
     black ail acke , a       ,  ee ha e i ab                                                  .O     Alei e C      le    e ab                                hei
     beha i a       d 1900 i hi A hagi g a h .

     Crystal Cox – Investigative Blogger? No, More Like A Scammer and Extortionist « Philly Law Blog
     says:
     Ma ch 30, 2012 a 9:47
     [ ] bad ha e ac l       ha C    al C did. T ice [ ]

     mamamara says:
     Ma ch 30, 2012 a 10:53
     A d hi i     h I a     e f h e                        h     ed ice hi g ab      , e e h gh     ha e  idea
       h I a . Tha ki d f     ea ca                        aig i bad f all f    a d eed    be i ed i he b d b
      a i al e le.

     "Investigative Journalist" Crystal Cox's Latest Target: An Enemy's Three-Year-Old Daughter |
     Popehat says:
     Ma ch 31, 2012 a 1:21 a
     [ ] ha       i h he e ail       Ma c Ra da a, elli g hi        ha  he had al ead    egi e ed
     h ://        . a c a da a.c , a d eeded         e , a d he had [ ]

     Fraud Files Blog says:
     Ma ch 31, 2012 a 10:14 a
     [ ]     k f a adi i al e                          le , a d            a    j           a bl gge . The hi g i ,                      he he a j      ali
        , he defa a i clai    ee                    clea [ ]

     marklyon says:
     Ma ch 31, 2012 a 12:00
     I a a ed he ha         egi e ed c                         alc       i a    j b.c                 c       alc        e       i       i .c       .

    :// a da a.   d e .c   /2012/03/30/ dge-   e -aga - a -b gge -c       a -c - -    -a-     a   -       -    -     -beca e- e-         -a-    a   /          9/13
9/3/2020          J dge e , aga , a b gge C a Document
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     OhEmGee says:                                   #:570
     Ma ch 31, 2012 a 12:52
     hi      d like he Deb F i ch ca e all e agai

     Defending People » Crystal Cox says:
     Ma ch 31, 2012 a 2:47
     [ ]C       ied   e    Ma c Ra da a b                             egi e i g             l i le d          ai   a e i cl di g hi                   a e
     a d ffe i g hi he a e [ ]

     dan says:
     A il 1, 2012 a 6:35 a
     O e      de    ha C                did   he    j dge                 h had he e e                        df     he         he       ide? I     af aid
       d a d ai ea ch                    J dge He a de :(

     O he b igh             ide hi i bec i g                      e a d      e     e hi g ha  alk like RICO,   ack like
     RICO a d ha              l i le edica e ac i                   l i le a e . The    a ha e call i iCOX i he ca e

     AlphaCentauri says:
     A il 1, 2012 a 1:22
     RICO efe       c                      ga i a i         . J dgi g f            he           i i g a d ca i ali a i                        le, he b ai
     d e     e e    alif a                ga i ed.

     Crystal Cox – Trial Theory says:
     A il 1, 2012 a 7:20
     [ ] NY Ti e , a d ha k       a e l i i he bl g                                     he e f ll i g C    al C                          a ack       Fi
     A e d e La e Ma c Ra da a, he          h ca e                                      ab       ha eall [ ]

     WP says:
     A il 1, 2012 a 7:56
     I d h e ha          ill ake a e g d e a le f hi e                                                   ab        he fac ha c be b ll i g
     a d ide i hef ( h      gh d ai egi a i ) i a c i e!

     G     d l ck      i h hi ca e.

           marcorandazza says:
           A il 2, 2012 a 8:52 a
           I        e ibl i e e ed i d i g ha . I                                ch         e i e e ed i ill                a i g ha e                 i
             che e a e     j     ali .

     A shield law for bloggers? OK, but not for extortionists. | Nobody's Business says:
     A il 1, 2012 a 11:36
     [ ] a cj a da a.c , a d a cj h a da a.c . Whe ha did ge he a                        he e, Ma c a ,
      he egi e ed e e al d ai a e c ai i g Je ife Ra da a                  Ma k [ ]

     Crystal Cox - NYTimes.com says:
     A il 2, 2012 a 7:22 a
     [ ]a       be f bl gge a la ded he deci i , i cl di g Ma c Ra da a, h                                                               i e The Legal
     Sa ic bl g a d had bee a ked    e e e M .C           a eal: He a de   a                                                             igh   da a
     li e, a d [ ]

     Crystal Cox is not a member of the media « Siouxsie Law says:
    :// a da a.   d e .c   /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -   -a-    a   -    -   -    -beca e- e-     -a-        a    /            10/13
9/3/2020           J dge e , aga , a b gge C a Document
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     A il 2, 2012 a 9:26 a                            #:571
     [ ] T ead a e         al a d de ailed acc        fj   h    M .C         e a e he che e, click he e. [                                                ]

     Ugly New Reputation-Smearing Tactic: Going After A Toddler's Internet Footprint - Forbes says:
     A il 2, 2012 a 11:33 a
     [ ] ia J dge le , agai , ha bl gge C     al C i       aj     ali . Y k         h ? Beca e he
     ISN T . [ ]

     Susan Tillotson Bunch says:
     A il 2, 2012 a 6:03
     Ma c,

     A            al,       e e fail i    e !Te e d                          a icle! De            i el f        df        h    gh . Al           eg     d
     idea               e    a id a all c    .

           marcorandazza says:
           A il 2, 2012 a 6:07
           S ei e ,        d   k                     ha          e     ei a        ca e           il       le he         i     he d

     Mario K. Cerame says:
     A il 2, 2012 a 11:41
     I l k like he ha bee a f                         da e all bad e                    .I                  f         ha       he    d        e    a d
          . Si ce el .

     L ki g a he legal e ec i e, I d hi                               k he i i a I.B.2 i         g. Fla       g. The    e    i
       f eed    f eech a d f he e            i                            a i i i al edia i i a i di id al igh              ea
        i i g e , a d he igh             bli h.                      I ha al a bee         de     d    be c e e i e i h he
     i di id al igh        eech, f     he                             ea i e   he C     i i      Ci i e U i ed. 130 S. C . 876,
     904, 906-08 (2010). I         a i g hi i                          e i di   i i e f he ca e. I         a i g he igh ,
      ha he h ld i . I            a i g i d e                              a e f Fi     A e d e             e     he he C i
         edia        . I    a e f O eg                                  a             e , i ee . B             de he fede al
     c     i i .

     Ye , J ice S e a ad ca ed eadi g f he e cla e a h ldi g highe                      ec i    f                                                      e
     i i i al        e   ha       ha        ld be aff ded     ge e al i di id al . Ye ,      e c c                                                   i g
        i i    a d di e     ha e a     ell. N     aj i U.S. S   e eC         i i ha e e di i g                                                    i hed
      igh    f a e be f he edia f                h e ffe ed     di a i di id al . The e ha e l                                                     bee
     h ldi g      he c    a . J dge He a de            i i d e       el      ecede he a a e l                                                      elie
            e ab e ce f ecede . I             ld be e bad f    he f eed     f eech a d f he e                                                      if he
       e e igh . Tha kf ll , he i    .

     A he f   di g, he e a       i i i al edia     i i i al e . B      a i di id al  ed
     he ( i i g) e         bli h hei idea i  a chea , ef cie a d c e ie . T da  e le e
     he i e eb       bli h hei idea f   he a e ea   .

     Agai , I a               a i g he i          igh . I a       a i g I.B.2 i               g.

     » Crystal Cox’s 5th Amendment Rights says:
     A il 3, 2012 a 2:55 a


    :// a da a.    d e .c   /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -   -a-     a   -    -   -        -beca e- e-    -a-    a   /            11/13
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       Case 2:20-mc-00076-MWF-MRW            C    a    a . Y Filed 09/03/20
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     [ ] W e ill :: Je ife a d Ma c Ra da #:572      a ha e d e            e :: Da ge      TO he Libe ieS f
     F d e al 1031 Ba k          P :: b eedi g      f ci g C      al C I e iga i e C be E                i i
     d   ha a he        f f ee eech          ld d     egi e a eb i e i he a e f hei h ee- ea ld
     da gh e :: h ca be ee he e              f ced i     ig ail-i c g i . [ ]

     The Evolution of Crystal Cox: Anatomy of a Scammer « Philly Law Blog says:
     A il 3, 2012 a 11:26 a
     [ ] hi     i ,i     ld e    ha a    e Ke i Pad ick a d Ob idia Fi a cial g a $2.5      e dic
     agai    C      he    he ied he haked            he . I he defa a i        la i , Pad ick a d
     Ob idia c e ded [ ]

     Anonymous Insider says:
     A il 3, 2012 a 3:22
     >>S debake -DeY     g a C                              ai         ce f i f             ai       i he a ack agai                   Ke i Pad ick.
     <<

     I deed, C               e       Dece be 24, 2009:

     "M Bl g              Ob idia Fi a ce i ba ed        l                              ha I lea ed h     gh eadi g S e ha ie
     S debake          DeY     g' Bl g af e i     a b     gh                                a e i    b a di g     led a ." [
     h ://             .a         -i ide . e /bl ggi g-a                                g/ e ea ch/2009/1224-a.h l ]

     See a i eli e   S debake -DeY    g a d C                                    a h    ://            .a                  -i     ide . e /bl ggi g-
     a        g/ke i - ad ick- -c al-c .h l

     Chee ,

     AI

     Fraud Files Blog says:
     A il 4, 2012 a 1:59
     [ ] igi al        i ab  Ke i D. Pad ick a d Ob idia Fi a ce, h                                                   a $2.5 illi j dg e
     agai    C    al f he defa a i     f he . A j   de e i ed ha C                                                  i deed defa ed A    e
     Pad ick a d Ob idia Fi a ce, a d held he [ ]

     Scams, exploitation, adaptation and delusion « blueollie says:
     A il 5, 2012 a 8:47
     [ ] e    ai     e ice a a ee fee. Read he de ail he e. I a ale ed       hi                                                         b Ra da     a,
       h   a he bjec f e f he a ack . Like hi :LikeBe he            like hi [ ]

     Crystal Cox: Is Philly Law Blog Part of a Big Awesome Media Conspiracy, Along With Above the
     Law? I Sure Hope So! « Philly Law Blog says:
     A il 5, 2012 a 10:51
     [ ] decli ed. C     he b gh d ai         a e i    l i g Ma c  ife a d h ee ea ld child, a d
     ha e gaged i a a i-Ra da a ca aig i ila              ha he did [ ]

     Bloggers as journalists are entitled to shield law protection says:
     A il 11, 2012 a 3:15
     [ ] Ra da a, calli g      Ne Y k A          e Sc G ee eld c                                              e             he     li g, ake clea
     i ab      C , e       all , a d       he he bl gge a e e i led                                         hield          ec i    . He a de    a
      igh   [ ]
    :// a da a.   d e .c   /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -    -a-   a    -   -    -      -beca e- e-    -a-    a   /          12/13
9/3/2020           J dge e , aga , a b gge C a Document
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                                                                                       21 . T38
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     Very Few Things Leave Me Speechless… this#:573    did. « Philly Law Blog says:
     Ma 1, 2012 a 10:33 a
     [ ] C       e      a a ic la le el f          a ie af e g i g af e Ma c Ra da a h ee ea                                         ld
     da gh e . A         igh i agi e, b i gi g a h ee ea ld child i            he i did         la [ ]

     Bloggers are not journalists. | Theresa Mark says:
     Ma 31, 2012 a 9:03
     [ ] Bl gge a e      j     ali . [ ]

     Chris Mark says:
     Ma 31, 2012 a 9:19
     Tha k Ma c f        li i g he ca e. I a (                          il   da )          e f h e       h       k ffe e a he di g
      f he ca e. I a a ha ed     a ha I had                             d    e               h e         k      he ca e. Tha k agai .




                                                           Bl g a W dP e .c                 .




    :// a da a.   d e .c   /2012/03/30/ dge-   e -aga - a -b gge -c   a -c - -   -a-   a    -   -   -   -beca e- e-   -a-   a   /   13/13
Case 2:20-mc-00076-MWF-MRW Document 16-1 Filed 09/03/20 Page 22 of 38 Page ID
                                 #:574




                       EXHIBIT B
                             Kashmir Hill,

         “Ugly New Reputation-Smearing Tactic:
        Going After a Toddler’s Internet Footprint,”

                               FORBES
                             (Apr. 2, 2012)
9/3/2020                                        Annotate Filed
           Case 2:20-mc-00076-MWF-MRW Document 16-1      Image 09/03/20 Page 23 of 38 Page ID
                                            #:575




chrome-extension://nlipoenfbbikpbjkfpﬁllcgkoblgpmj/edit-react.html                              1/3
9/3/2020                                        Annotate Filed
           Case 2:20-mc-00076-MWF-MRW Document 16-1      Image 09/03/20 Page 24 of 38 Page ID
                                            #:576




chrome-extension://nlipoenfbbikpbjkfpﬁllcgkoblgpmj/edit-react.html                              2/3
9/3/2020                                        Annotate Filed
           Case 2:20-mc-00076-MWF-MRW Document 16-1      Image 09/03/20 Page 25 of 38 Page ID
                                            #:577




chrome-extension://nlipoenfbbikpbjkfpﬁllcgkoblgpmj/edit-react.html                              3/3
Case 2:20-mc-00076-MWF-MRW Document 16-1 Filed 09/03/20 Page 26 of 38 Page ID
                                 #:578




                       EXHIBIT C
                            Marc Randazza,

      “This Domain Name Seized from Crystal Cox,”

                      THE LEGAL SATYRICON
                         (Dec. 17, 2020)
9/3/2020                            This Domain
           Case 2:20-mc-00076-MWF-MRW           Name Seized
                                          Document          from Crystal
                                                         16-1     Filed  Cox09/03/20
                                                                             | The Legal Satyricon
                                                                                             Page 27 of 38 Page ID
                                                     #:579


The Legal Satyricon
                               Occasionally irreverent thoughts on law, liberty, tech, and politics.




This Domain Name Seized from Crystal Cox

A number of domain names, formerly registered by the well-known cyber-extortionist, Crystal Cox, now
forward to this post.

On Nov. 30., the World Intellectual Property Organization awarded six of them to me in Randazza v. Cox,
WIPO Case No. D2012-1525 (https://randazza.ﬁles.wordpress.com/2012/12/randazza-v-cox-decision-
d2012-1525-highlighted.pdf). (Cox’s commentary on the case is here
(http://www.francisgurry.com/2012/12/open-letter-to-wipo-director-francis.html))

On Dec. 14, the United States District Court in Las Vegas issued a TRO seizing the rest. See Randazza v.
Cox, 2:12-cv-02040 (https://randazza.ﬁles.wordpress.com/2012/12/cox-order-on-tro1.pdf) (D. Nev. Dec.
14, 2012)

I prefer not to comment much on the cases themselves, as there has been plenty of that from third party
media sources. However, I have put up this post so that any of the seized domain names can point to this
post. If you represent any of Cox’s other victims, feel free to email me and I’ll be pleased to share my
pleadings in these cases.

Here are some selected press accounts of the story:

Forbes: Hill, Kashmir, “Ugly New Reputation-Smearing Tactic: Going After a Toddler’s Internet
Footprint (http://www.forbes.com/sites/kashmirhill/2012/04/02/ugly-new-reputation-smearing-
tactic-going-after-a-toddlers-internet-footprint/)” Forbes.com, April 2, 2012.

New York Times: Carr, David, “When Truth Survives Free Speech
(http://www.nytimes.com/2011/12/12/business/media/when-truth-survives-free-speech.html?
pagewanted=all&_r=0)” New York Times, Dec. 11, 2011.

Philly Law Blog: Rushie, Jordan, “The Evolution of Crystal Cox: Anatomy of a Scammer
(http://phillylawblog.wordpress.com/2012/04/03/the-evolution-of-crystal-cox-anatomy-of-a-
scammer)” Philly Law Blog, April 3, 2012.

Forbes: Coursey, David. “Are Bloggers Really Journalists? Not If They Ask for Money
(http://www.forbes.com/sites/davidcoursey/2012/03/29/are-bloggers-really-journalists-not-if-they-
ask-for-money/)” Forbes.com, March 29, 2012.



https://randazza.wordpress.com/2012/12/17/this-domain-name-seized-from-crystal-cox/                                  1/5
9/3/2020
      Case 2:20-mc-00076-MWF-MRW    This Domain Name Seized
                                          Document          from Crystal
                                                         16-1     Filed  Cox09/03/20
                                                                             | The Legal Satyricon
                                                                                             Page 28 of 38 Page ID
Forbes: Hill, Kashmir. “Why An Investment Firm Was   #:580Awarded $2.5 Million After Being Defamed By
Blogger (http://www.forbes.com/sites/kashmirhill/2011/12/07/investment-ﬁrm-awarded-2-5-million-
after-being-defamed-by-blogger/)” Forbes.com, Dec. 7, 2011.

PopeHat: White, Ken. “Crystal Cox: Not a Free Speech Advocate
(http://www.popehat.com/2012/04/04/crystal-cox-not-a-free-speech-advocate/)” Popehat, April 4,
2012.

National Public Radio: Garﬁeld, Bob. “Combating ‘Bad’ Speech with More Speech
(http://www.onthemedia.org/2012/apr/06/combating-bad-speech-more-speech/)” NPR, On the Media
Episode on April 6, 2012.

Photography is Not a Crime: Miller, Carlos. “Blogger Must Act Like Journalist To Be Treated Like One
(http://www.pixiq.com/article/montana-blogger-must-start-acting-like-a-journalist)” Pixiq, December
9, 2011.

I expect even more loony tunes to follow.

This entry was posted on Monday, December 17th, 2012 at 5:40 pm and is ﬁled under misc. You can
follow any responses to this entry through the RSS 2.0 feed. Both comments and pings are currently
closed.




14 Responses to This Domain Name Seized from Crystal Cox

     tsaoutofourpants says:
     December 17, 2012 at 5:43 pm
     Nice work, Marc! :) Beating Ms. Cox in court must be a little like taking candy from a retarded baby,
     but it needed to be done nonetheless!

     SA says:
     December 17, 2012 at 6:24 pm
     She seems determined to prove Ken @ Popehat correct: that pro se means, roughly, “mentally
     unbalanced and currently unmedicated.”

     It’d take a LOT of medication for me to think it was a good idea to register domains in the name of
     WIPO higher-ups (Francis Gurry, Edward Kwakwa) in order to post rants there immediately after
     WIPO ruled against me.

           tsaoutofourpants says:
           December 18, 2012 at 9:59 pm
           lol… I spend every day ﬁghting the presumption that I’m mentally unbalanced and currently
           unmedicated. ;) It’s really a shame that “pro se” is the slur that it is.

     greenerpastures says:
     December 17, 2012 at 7:42 pm
     A lesson to the Crystal Coxes of the world: this is what happens when you take on someone
     exponentially smarter than you.

https://randazza.wordpress.com/2012/12/17/this-domain-name-seized-from-crystal-cox/                             2/5
9/3/2020
       Case 2:20-mc-00076-MWF-MRW   This Domain Name Seized
                                          Document          from Crystal
                                                         16-1     Filed  Cox09/03/20
                                                                             | The Legal Satyricon
                                                                                             Page 29 of 38 Page ID
     Art H. says:                                    #:581
     December 17, 2012 at 9:24 pm
     WTF? One day I’m minding my own business reading the ﬁne musings at my favorite website and
     top bookmark, fuckmarcrandazza.com, and the next I’m here? What just happened to my world?!?

           jackassletters.com (@jackassletters) says:
           December 18, 2012 at 12:25 pm
           Whois data for: fuckmarcrandazza.com

           MARC J. RANDAZZA c.o. Randazza Legal Group
           6525 West Warm Springs Rd
           Ste. 100
           Las Vegas, Nevada 89118

           I was really hoping Marc would do something more entertaining than point to a blog post.

     Jordan Rushie says:
     December 17, 2012 at 9:59 pm
     One thing I’m surprised no one has mentioned… Crystal managed to beat Proskauer under what
     were seemingly identical facts. What happened differently here?

     After reading both briefs, one thing was clear – Marc captured the narrative. Yeah, Proskauer cited a
     lot of law and made well reasoned arguments, but it came off like a mega law ﬁrm trying to bully a
     poor little internet user.

     Marc’s brief told the story – a stalker, an extortionist, and someone who is doing very bad things.
     When you read it, all you can think is “Holy shit, that is just wrong!”

     Result: Proskauer loses, Randazza wins.

     I’m sure there’s a moral here…

     “Adam Steignbaugh” is Cybersquatting Chance Trahan « Satirical Takedown Lawyer/Hammer
     says:
     December 17, 2012 at 10:20 pm
     […] on his name). And as much as you hate him, perhaps you should also have a talk with Marc
     Randazza, who was just granted control over legitimate cybersquatting pages created by Crystal […]

     SA says:
     December 17, 2012 at 11:25 pm
     Crystal’s response to the initial ﬁling in this case didn’t do her any favors. It was yet another spewfest
     of accusations. What I found particularly amusing was that not once in the entire response did she
     mention the disputed domains, nor any of the speciﬁc claims.

     Marc’s beautiful step-by-step, point-by-point breakdown and analysis gave her a perfect platform for
     detailing *why* “it’s not what it looks like, Judge”. Yet she uses the platform to say, basically: “HE’S A
     LIAR AND A HORRIBLE PERSON!”

     You could hardly ask for a more glaring contrast between ﬁlings. Was she this incomprehensible in
     the Proskauer case?


https://randazza.wordpress.com/2012/12/17/this-domain-name-seized-from-crystal-cox/                             3/5
9/3/2020Case 2:20-mc-00076-MWF-MRW      This Domain Name Seized
                                              Document          from Crystal
                                                             16-1     Filed  Cox09/03/20
                                                                                 | The Legal Satyricon
                                                                                                 Page 30 of 38 Page ID
     G Thompson says:                                    #:582
     December 18, 2012 at 4:34 am
     Wouldn’t part (B) and (C) of the TRO also forbid Ms Cox from doing exactly what she is still doing on
     her own named website at crystalcox [dot] com? On one hand I would think part (B) is very wide and
     fraught with dangers re your own First Amendment (though I’m a foreigner who knows not of your
     TRO mechanisms)… but on the other hand I absolutely agree since it is the minimum I myself would
     expect under equity (and I can’t stop smiling and saying F*** Yeah!!)

     Though looking at that website (I’m loathe to call it a blog) your name as of this comment time stamp
     is all over the thing and even within the html title tag, etc. Or is there a leeway time period of when
     she has to do what the order states that I’m not getting? ie: Business hrs or some weirdness

     And Jordan, WIPO is a tribunal setting where logical, quasi-emotional, equitable, and plain English
     briefs will always work best. They are meant to be non-adversarial hearings where the average
     layperson feels like they are on an even footing. and is EXACTLY why Proskauer would of come off
     looking like a bully.

     Plus Marc’s briefs are always full of awesomeness with a dash of snark and a pinch of plain old
     ‘everyman’ in them ;)

     Cephas Q. Atheos says:
     December 18, 2012 at 8:32 am
     Well fought, Marc. You deserve better, personally and professionally (WRT the TRO at least), but I’m
     really glad you allowed us to “participate”.

     I think Ms. Cox has now been ofﬁcially “Marced” :D

     … which brings me to the most troubling thing about all this. She obviously needs medical help, and
     I’m not being snarky. She really, really needs someone to intervene before she does herself some real –
     irreversible – harm. She doesn’t seem to ﬁt the proﬁle of a physical stalker, she’s too emotive and
     illogical and needs instant gratiﬁcation too much for that. But I’ve seen this exact same vocal
     behaviour in two ex-friends of mine (ex as in ‘no longer with us’, one on my watch, to my everlasting
     shame), and I’m wondering if there’s any way she could be made to get preventative treatment before
     she becomes “the late Crystal Cox, cyberbully, with undiagnosed and terminal mental health issues”.
     Or can that only happen voluntarily?

     Please note, I’m not advocating some kind of fascist suppression, I’m genuinely concerned. (In the
     interest of full disclosure : but for modern psychological chemistry and an incredibly supportive
     partner, I could so easily be her).

     In any case, glad you’ve made it with your integrity intact. Well done!

     jackassletters.com (@jackassletters) says:
     December 18, 2012 at 12:33 pm
     One of the sucky things to me is this kind of tactic puts a burden on the winner. Domains cost $7 a
     year. We’re talking a bunch of domains, so anywhere between $35 and $100 a year to renew or they go
     back in the pool of availability. Times this by the number of decades Marc has left to live and he’s
     forced into spending money for defensive registrations.




https://randazza.wordpress.com/2012/12/17/this-domain-name-seized-from-crystal-cox/                                4/5
9/3/2020                         This Domain
        Case 2:20-mc-00076-MWF-MRW           Name Seized
                                       Document          from Crystal
                                                      16-1     Filed  Cox09/03/20
                                                                          | The Legal Satyricon
                                                                                          Page 31 of 38 Page ID
     This was one of the things I loved           #:583 about the whole Glenn Beck thing:
     http://knowyourmeme.com/memes/glenn-beck-rape-murder-hoax When Marc’s client gave the
     rights to that site to Beck it put poor Glenn in a position of either renewing
     GlennBeckRapedAndMurderedAYoungGirlIn1990.com for perpetuity or letting someone else snatch
     it up.

     To some people these sums are triﬂing amounts and the cost of business. To me…I’d rather have a
     dinner out once a year than pay to reserve fuckchristopherjorgensen.com (and others) for the rest of
     my life.

     Nicholas Weaver says:
     December 18, 2012 at 4:11 pm
     For those who are curious, all the ﬁlings are now archived in Recap:
     http://ia601205.us.archive.org/2/items/gov.uscourts.nvd.91330/gov.uscourts.nvd.91330.docket.html

     Crystal Cox is NOT A Journalist Is This Good News? | Parents Rights Blog says:
     December 27, 2012 at 2:36 am
     […] Click here to read more >> This Domain Name Seized from Crystal Cox. […]




                                                                Blog at WordPress.com.




https://randazza.wordpress.com/2012/12/17/this-domain-name-seized-from-crystal-cox/                          5/5
Case 2:20-mc-00076-MWF-MRW Document 16-1 Filed 09/03/20 Page 32 of 38 Page ID
                                 #:584




                       EXHIBIT D
                          Marc J. Randazza,

                 “Dan Snyder is butthurt,
           SLAPP suit ensues, Ironymeter pegged”,

                      THE LEGAL SATYRICON
                          (Feb. 6, 2011)
9/3/2020                        Dan Snyder is butthurt,
           Case 2:20-mc-00076-MWF-MRW          Document SLAPP suit
                                                               16-1ensues, Filed
                                                                           Irony meter pegged | The Legal
                                                                                   09/03/20          Page Satyricon
                                                                                                              33 of 38 Page ID
                                                            #:585


The Legal Satyricon
                               Occasionally irreverent thoughts on law, liberty, tech, and politics.




Dan Snyder is butthurt, SLAPP suit ensues, Irony
meter pegged

By Marc J. Randazza

Washington Redskins owner, Dan Snyder, seems to have awfully thin skin for a guy who owns a sports
team named after a racial insult.

Snyder ﬁled a frivolous defamation suit (//iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?
documentId=tirVQewp3Wt/s2j+6wUb0A==&system=prod) against the Washington City Paper (“WCP”)
based upon an article “The Cranky Redskins Fan’s Guide to Dan Snyder.”
(http://mirror.washingtoncitypaper.com/articles/40063/the-cranky-redskins-fans-guide-to-dan-
snyder.html)

Snyder accuses the WCP of spreading “lies, half-truths, innuendo, and anti-Semitic imagery” to defame
him, seeking $2 million in damages. The amount is split between two claims, the ﬁrst for defamation
and the second for false light. The “anti-semitic imagery” he complains of is a crude addition of horns, a
unibrow and Anton LaVey-esque goatee to Snyder’s photograph in the WCP, which can be seen here
(http://mirror.washingtoncitypaper.com/articles/40063/the-cranky-redskins-fans-guide-to-dan-
snyder.html).

No, your irony meter is not broken. It is actually reading 11. A guy who owns the Washington Redskins
is complaining that someone created an allegedly racist drawing of him. And, anyone who thinks that
“Washington Redskins” isn’t a bigoted term, I used to think the same thing. In law school, I was in a
debate with a guy I’ll identify as “Steve B.” I was armed with my free-speech bona ﬁdes, and ready to
pwn Steve in front of the whole class for being overly politically correct. With his opening shot, Steve
looked at me and said “what would you think if they were called the ‘Washington Jigaboos?’ Because the way
black people would feel about that is how Native Americans feel about ‘Redskins.'”

I immediately conceded. Steve was right. The debate was over.

So, the owner of the Washington Jigaboos Redskins is pissy about someone supposedly using racist
imagery.

On behalf of Native Americans, up yours, Dan Snyder
(http://indiancountrytodaymedianetwork.com/2011/02/snyder-tackled-for-redskins-hypocrisy/). Up
yours with a cactus grown in the driest part of the Navajo reservation.

https://randazza.wordpress.com/2011/02/06/dan-snyder-is-butthurt-slapp-suit-ensues-irony-meter-pegged/                           1/6
9/3/2020                        Dan Snyder is butthurt,
           Case 2:20-mc-00076-MWF-MRW          Document SLAPP suit
                                                               16-1ensues, Filed
                                                                           Irony meter pegged | The Legal
                                                                                   09/03/20          Page Satyricon
                                                                                                              34 of 38 Page ID
                                                            #:586




                             (https://randazza.ﬁles.wordpress.com/2011/02/dan-snyder-as-the-devil.jpg)
      Please re-calibrate your irony meters -- Dan Snyder, owner of the Washington *Redskins*; complains
                                            that this drawing is racist.

But lets get back to the issue at hand:

Dave McKenna’s comprehensive compendium on Snyder’s questionable reputation, which gave rise to
this lawsuit, is not the ﬁrst time he offended Snyder’s sensibilities. Snyder paints a paranoid picture of
McKenna as a conspirator, evidenced in his November 24, 2010 letter to the WCP
(https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?
documentId=tirVQewp3Ws1eN6FGDX3Pg==&system=prod)— sent less than a week after McKenna’s
article hit the streets. Because McKenna mentioned Snyder within the WCP and its blog 15 times in as
many months, Snyder believed McKenna was attacking him to please his new bosses at Atalaya Capital,
which acquired Creative Loaﬁng and the WCP in August 2009. (source
(http://www.tbd.com/blogs/chamberlain/2011/02/dan-snyder-vs-wcp-a-rundown-of-the-lawsuit-
and-how-tanya-snyder-s-name-entered-the-fray-8050.html).)

Even so, it appears McKenna gave Snyder a fair shake. Before McKenna’s article was published,
Snyder’s wife went to the local media to defend her husband. In an interview, she said her husband was
now surrounded by ‘better people,’ and that he had ‘grown and he’s evolved.’ (source
(http://www.tbd.com/blogs/chamberlain/2011/02/dan-snyder-vs-wcp-a-rundown-of-the-lawsuit-
and-how-tanya-snyder-s-name-entered-the-fray-8050.html).) The offending article
(http://mirror.washingtoncitypaper.com/articles/40063/the-cranky-redskins-fans-guide-to-dan-
snyder.html) even begins with the words “[w]e’ve been told a New Dan Snyder walks among us”!

Nevertheless, lets not forget that Dan Snyder is a wealthy man. He is a fabulously wealthy man. And we
all know that the fabulously wealthy often believe that they are above being criticized by the rabble —
and when the rabble forgets it, they need only spread their ass cheeks, let a few ﬁlthy pieces of silver fall
from their milk-fed buttholes, and some swine of a lawyer will be lying underneath, mouth agape,
happy to catch what might dribble from the sphincter of privilege — their oath, their ethics, and free
speech be damned.

In nicer words, this is a classic SLAPP suit — not ﬁled because it has a chance of success — but ﬁled
because the cost of defending it will be punitive enough to remind the little people that people who can
afford to use helicopters as personal transportation vehicles do not like to be made fun of or criticized.

The ﬁrst sign that this is a SLAPP suit? You need go no further than paragraph 1. The complaint states
“Mr. Snyder is a public ﬁgure. As such, he accepts the right of the public and the press to criticize him or to express
personal dislike, whether or not such expressions are justiﬁed by the facts.”

Precisely.


https://randazza.wordpress.com/2011/02/06/dan-snyder-is-butthurt-slapp-suit-ensues-irony-meter-pegged/                           2/6
9/3/2020
       Case 2:20-mc-00076-MWF-MRW Dan Snyder is butthurt,
                                                 Document SLAPP suit
                                                                 16-1ensues, Filed
                                                                             Irony meter pegged | The Legal
                                                                                     09/03/20          Page Satyricon
                                                                                                                35 of 38 Page ID
In other words, Mr. Snyder is going to need to leap#:587        over the “actual malice” standard laid down in New
York Times v. Sullivan, 376 U.S. 254 (1964). In that case, the Supreme Court held that the First Amendment
required that a public ofﬁcial libel plaintiff must establish, through clear and convincing evidence, that
the defendant acted out of “actual malice.” That doesn’t mean that the writer must have acted out of
malicious intent, but rather that the defendant published his words “with knowledge that it was actually
false or with reckless disregard of whether it was false or not.” Later cases expanded this to encompass
defamation suits by public ﬁgures, as well as public ofﬁcials. See, e.g, Curtis Publishing Company v. Butts,
388 U.S. 130 (1967); Gertz v. Robert Welch, 418 U.S. 323, 351 (1974).

Public ﬁgures can, occasionally, prevail under this standard. However, the bar is so high that unless the
case is ﬂawless, it is unlikely to go anywhere except down the “expensive to defend” highway. Snyder
knows this. His attorneys know this. But Snyder is a wealthy man, and his lawyers don’t mind the taste
of feces in their mouths, as long as they are licking the foul substance off of Snyder’s coins.

Lets take a look at Snyder’s claims under New York law. New York is very protective of free speech —
especially where the news media is concerned. What constitutes a statement of opinion is broad, and can
even embrace language that in other states may be defamation per se, such as calling another person
“unprofessional.” See Amodei v. New York State Chiropractic Association, 160 A.D.2d 279, 280 (N.Y. Sup. Ct.
App. Div. 2d Dept. 1990), aff’d 571 N.E.2d 79 (N.Y. 1991); Halegoua v. Doyle, 171 Misc. 2d 986, 991 (N.Y.
Sup. Ct. 1997); Wait v. Beck’s North America, Incorporated, 241 F. Supp 2d 172, 183 (N.D.N.Y. 2003).
(“Statements that someone has acted unprofessionally or unethically generally are constitutionally
protected statements of opinion.”).

Despite Snyder’s melodramatic whining about McKenna’s negative opinion of him, even incendiary and
inﬂammatory criticism of a subject is protected rhetorical hyperbole. See Greenbelt Coop. Pub. Ass’n v.
Bresler, 893 U.S. 6, 14 (1970); Gross v. N.Y. Times Co., 623 N.E.2d 1163, 1167 and 1169 (N.Y. 1993). Even
heavily caustic attacks on public ﬁgures are afforded the highest level of Constitutional protection.
Hustler Magazine v. Falwell, 485 U.S. 46, 52 (1988).

The second cause of action is a bit trickier. While the language reads like a false light claim, there’s a
wrinkle here: According to the Citizen Media Law Project (http://www.citmedialaw.org/legal-
guide/new-york-false-light), New York doesn’t recognize the tort of false light. Costanza v. Seinfeld, 27
Media L. Rep. 2177 (N.Y. Sup. Ct. 1999), aff’d, 719 N.Y.S.2d 29 (N.Y. App. Div. 2001); Howell v. New York
Post Co., 21 Media L. Rep. 1273 (N.Y. 1993) That leaves Snyder with the tort of defamation by
implication, which remains a form of defamation and thus subject to the same attacks set forth in the
preceding paragraph.

Nonetheless, as the owner of the Redskins, Snyder has access to lawyers and the money to pay for them,
and can inﬂict quite a lot of pain onto the defendants. Furthermore, even if the WCP fends off these
claims, Snyder has made it clear that anyone smaller than the WCP had better be worried — criticizing
him is not without its signiﬁcant costs.

     Mr. Snyder has more than sufﬁcient means to protect his reputation. We presume that defending such
     litigation would not be a rational strategy for an investment fund such as yours. Indeed, the cost of
     litigation would presumably quickly outstrip the asset value of the Washington City Paper.” (source
     (https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?
     documentId=tirVQewp3Ws1eN6FGDX3Pg==&system=prod))




https://randazza.wordpress.com/2011/02/06/dan-snyder-is-butthurt-slapp-suit-ensues-irony-meter-pegged/                        3/6
9/3/2020
      Case 2:20-mc-00076-MWF-MRW    Dan Snyder is butthurt,
                                                   Document SLAPP suit
                                                                   16-1ensues, Filed
                                                                               Irony meter pegged | The Legal
                                                                                       09/03/20          Page Satyricon
                                                                                                                  36 of 38 Page ID
Snyder appears more butthurt than genuinely wronged.            #:588 Unfortunately for him, or fortunately for us all,
there still is no cause of action in the United States for intentionally butthurting a rich dude.
Unfortunately for us all, win or lose, Snyder and his legal team just turned blew a cold wind across the
free expression fruited plain.

J. Malcom DeVoy contributed to this post. Hat tip to Johnny Utah.

This entry was posted on Sunday, February 6th, 2011 at 12:26 pm and is ﬁled under ass hat, bigots,
censorship, copyright, defamation, discrimination, First Amendment, imbeciles, law practice, parody,
political correctness, SLAPP, sports. You can follow any responses to this entry through the RSS 2.0 feed.
Both comments and pings are currently closed.




9 Responses to Dan Snyder is butthurt, SLAPP suit ensues, Irony
meter pegged

     Tweets that mention Dan Snyder is butthurt, SLAPP suit ensues, Irony meter pegged « The Legal
     Satyricon -- Topsy.com says:
     February 6, 2011 at 12:54 pm
     […] This post was mentioned on Twitter by dumbdansnyder, marcorandazza. marcorandazza said:
     Dan Snyder is butthurt, SLAPP suit ensues, Irony meter pegged http://wp.me/p2RjS-2Wu […]

     Andy G from Fairfax, VA says:
     February 6, 2011 at 12:58 pm
     I agree with your analysis. I read the complaint, and in my humble opinion, its junk.

     As a Jew, I am offended by Snyder’s playing the “anti-Semitic” card. Unlike the late Abe Polin, who
     was very much involved with local Jewish organizations, Snyder has not typically worn his Judaism
     on his sleeve. A lot of local Jews would consider him a “shondah” (Yiddish for “he makes us look
     really bad”).

     I am a business lawyer by profession, not a media expert. So one legal issue that jumped out at me is
     how in the world is he suing Atalaya? Atalaya Capital is the company that owns the corporation that
     publishes The City Paper in DC. Normally, people who own stock in a corporation, even a controlling
     interest, are not liable for claims against the corporation. If somebody who was injured at FedEx ﬁeld
     or Six Flags tried to sue Dan Snyder personally, they’d certainly be met with that defense. If you have
     a problem with Microsoft, see what happens if you try to sue Bill Gates personally. Is a suit against
     Atalaya simply a means to get this case out of town?

     Not being a New York lawyer, I can’t say whether the complaint adequately pleads malice under NY
     rules — in Virginia this suit would go out on demurrer, maybe with leave to replead. Here in Virginia
     we have a statute, VA Code 8.01-271.1, similar to Federal Rule 11, where a court can award sanctions
     for a frivolous lawsuit. I would guess that New York has something similar. Where Snyder and his
     lawyers have been brazen about using the suit as a club against City Paper, I hope that sanctions
     await!

     McKingford says:
     February 6, 2011 at 2:38 pm
https://randazza.wordpress.com/2011/02/06/dan-snyder-is-butthurt-slapp-suit-ensues-irony-meter-pegged/                           4/6
9/3/2020Case 2:20-mc-00076-MWF-MRW Dan Snyder is butthurt,
                                                  Document SLAPP suit
                                                                  16-1ensues, Filed
                                                                              Irony meter pegged | The Legal
                                                                                      09/03/20          Page Satyricon
                                                                                                                 37 of 38 Page ID
     Not only is this clearly a SLAPP lawsuit, Snyder          #:589
                                                                   essentially admits as much in his demand letter you
     reference:

     “Mr. Snyder has more than sufﬁcient means to pretect his reputation and defend himself and his wife
     against your paper’s concerted attempt at character assassination. We presume that defending such
     litigation would not be a rational strategy for an investment fund such as yours. Indeed, the cost of
     litigation would presumably quickly outstrip the asset value of the Washington City Paper.

     I mean, they aren’t even arguing the *damages* from the litigation would make retraction wise, they
     are speciﬁcally referencing the *costs* of the litigation.

     Susan says:
     February 7, 2011 at 1:56 pm
     What happened to bill HR 4364? Did it die? Is someone going to reintroduce it? Please call your
     congressperson to get this bill passed!!

     No SLAPP!!

     vaughnmgreenwalt says:
     February 7, 2011 at 8:34 pm
     I would love to disagree with you and tell you you’re comparing apples and oranges but this post is
     way too well-reasoned to try… and I know you too well to think you’re concerned with being too
     politically correct.

     mariocerame says:
     February 8, 2011 at 12:18 pm
     There’s a paypal legal defense fund for this lawsuit at:

     http://www.washingtoncitypaper.com/legaldefense

     Johnny Utah says:
     February 9, 2011 at 3:41 pm
     Good post. Violence is the last refuge of the incompetent and all that, but I would like to ﬁght this
     man, this Daniel Snyder.

     Tim says:
     February 10, 2011 at 12:28 pm
     Great follow up today in the Washington City Paper about Snyder’s legal team defending a libel suit
     in 1999. His motion to dismiss was full of gems like “The Constitution provides a sanctuary for
     truth,” and “A reasonable reader could not understand defendant’s remarks to accuse plaintiffs of
     any wrongdoing which would rise to the level of a defamatory harm to reputation.” Hypocrite
     much?

     http://www.washingtoncitypaper.com/articles/40399/dan-snyder-free-speech-champion

     Rep. Steve Cohen on SLAPPs « The Legal Satyricon says:
     June 20, 2011 at 10:54 am
     […] Representative Steve Cohen, the Legal Satyricon’s favorite Congressman (source), provides an
     editorial in Roll Call on SLAPP litigation and the Dan Snyder case (prev. blogged on here). […]



https://randazza.wordpress.com/2011/02/06/dan-snyder-is-butthurt-slapp-suit-ensues-irony-meter-pegged/                        5/6
9/3/2020                        Dan Snyder is butthurt,
           Case 2:20-mc-00076-MWF-MRW          Document SLAPP suit
                                                               16-1ensues, Filed
                                                                           Irony meter pegged | The Legal
                                                                                   09/03/20          Page Satyricon
                                                                                                              38 of 38 Page ID
                                                            #:590
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https://randazza.wordpress.com/2011/02/06/dan-snyder-is-butthurt-slapp-suit-ensues-irony-meter-pegged/                           6/6
